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       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                        the District of Columbia Bar does hereby certify that


                             Robert P Frommer
   was duly qualified and admitted on April 3, 2006 as an attorney and counselor entitled to
  practice before this Court; and is, on the date indicated below, an Inactive member in good
                                       standing of this Bar.




                                                                         In Testimony Whereof,
                                                                     I have hereunto subscribed my
                                                                     name and affixed the seal of this
                                                                     Court at the City of Washington,
                                                                          D.C., on May 5, 2021.




                                                                           JULIO A. CASTILLO
                                                                             Clerk of the Court




                                                                    Issued By:
                                                                                 District of Columbia Bar Membership



  For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                     memberservices@dcbar.org.
